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                              Exhibit 6
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Transcript of
                                     Date: August 28, 2024
Case: Phillips, et al. -v- Rector and Visitors of the University of Virginia, et al.




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                                                      Transcript of                                                     1 (1 to 4)

                                                        Conducted on August 28, 2024
                                                                 1                                                                   3

1           UNITED STATES DISTRICT COURT                              1    APPEARANCES:

2           WESTERN DISTRICT OF VIRGINIA                              2

3                Charlottesville Division                             3    ON BEHALF OF THE PLAINTIFF:
                                                                                  SAMUEL W. DIEHL, ESQUIRE
                                                                      4           Crosscastle PLLC
4           Case No. 3:22cv0075-RSB-JCH                                           14525 Highway 7
                                                                      5           Suite 345
5                                                                                 Minnetonka, MN 55345
                                                                      6           Phone: 612-429-8100
6    Dwayne PHILLIPS, et al.,               )                                     Fax: 612-234-4766
                                                                      7           Sam.diehl@crosscastle.com
7           Plaintiffs,                     )                         8
8           v.                              )                         9
                                                                           ON BEHALF OF THE DEFENDANT: The Rector and
9    RECTOR AND VISITORS OF THE             )                         10   Visitors of the University of Virginia
                                                                                  WENDY C. MCGRAW, ESQUIRE
10 UNIVERSITY OF VIRGINIA, et al.,          )                         11          Hunton Andrews Kurth LLP
                                                                                  Riverfront Plaza, East Tower
                                                                      12          951 East Byrd Street
11          Defendants.                     )                                     Richmond, VA 23219
                                                                      13          Phone: 804-788-7221
12                                                                                Fax: 804-788-8218
                                                                      14          Wmcgraw@HuntonAK.com
13 AUDIO TRANSCRIPTION OF RECORDED DEPOSITION
                                                                      15
14         TESTIMONY OF                                               16   ON BEHALF OF THE DOE DEFENDANT 1
                                                                                  MATTHEW B. KIRSNER, ESQUIRE
15                                                                    17          Williams Mullen
                                                                                  200 South 10th Street
16                                                                    18          Suite 1600
                                                                                  Richmond, VA 23219
17 August 28, 2024, 9:36 a.m.                                         19          Phone: 804-420-6074
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                                                                      20          Mkirsner@williamsmullen.com
18 Job No. 551153
                                                                      21
19 Pages: 1-217
                                                                      22
20 Transcribed by: Cynthia Bauerle, CSR
21 Notary Public/Court Reporter: Danny Terry
22




                                                                 2                                                                   4
1                                                                     1         INDEX
2    Deposition testimony of                      ,                   2 WITNESS                         PAGE
3    held at:
                                                                      3
4           323 2nd St SE
                                                                      4 EXAMINATION ON BEHALF OF PLAINTIFF
5           Suite 900
                                                                      5    By Mr. Diehl                  7
6           Charlottesville, VA 22902
7           Phone: 434.951.5700
                                                                      6 EXAMINATION ON BEHALF OF DEFENDANT
8
                                                                      7    By Ms. McGraw                   211
9    Pursuant to agreement, before Danny Terry,                       8         EXHIBITS
10 Notary Public in and for Commonwealth of                           9 EXHIBIT DESCRIPTION                     PAGE
11 Virginia.                                                          10        (Previously Marked)
12                                                                    11     1 Exhibit A-Print-out of PowerPoint-UVA
13                                                                    12    Vaccine Religious Acommodation
14                                                                    13    Requests                   32
15                                                                           2 Defendant UVA's Objections and
                                                                      14
16
                                                                      15    Answers to Plaintiffs' First Set of
17
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18
                                                                      17     3 LinkedIn Profile of
19
20
                                                                      18     4 Print-out of web page-UVA HR
21
                                                                      19    Business Partners
22                                                                    20     5 University of Virginia Health
                                                                      21    System-Diagram for Department
                                                                      22    Structure
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                                 Transcript of                                             2 (5 to 8)

                                   Conducted on August 28, 2024
                                                5                                                       7
1 EXHIBIT DESCRIPTION                    PAGE       1             THE REPORTER:
2        (Previously Marked)                        2 please raise your right hand.
3      6 (Highly Confidential)                      3        Do you solemnly swear or affirm under
4     UVA_0002368-Print-out of Information          4 the penalty of perjury that the testimony you
5     from the Vax Trax system        50            5 shall give will be the truth, the whole truth,
6      7 (Highly Confidential)                      6 and nothing but the truth?
7     UVA_0002235-Print-out of Information          7                                           ,
8     from the Vax Trax system                      8 after having been first duly sworn, was
9      8 Declaration of Karmen Fittes               9 examined and testified as follows:
10     9 Exhibit B-UVA Health Required              10            THE WITNESS: I do.
11    COVID-19 Vaccination for Team                 11            EXAMINATION
12    Members-dated 8.25.2021                       12 BY MR. DIEHL:
13     10 (Highly Confidential)                     13       Q. Good morning,                     . I
14    UVA_0002421-Print-out of Information          14 introduced myself before we got started, but
15    from the Vax Trax system                      15 I'll do it again on the record. My name is
16     11 Email-RE-Vax Trax Request                 16 Sam Diehl. I'm one of the attorneys
17     12 (Highly Confidential)-Print-out of        17 representing the plaintiffs in a lawsuit
18    Information from the Vax Trax system          18 against the University of Virginia. And have
19     13 UVA_0006795-Email-dated                   19 you ever had your deposition taken before?
20    10.23.2020-Vax Trax request-religious         20       A. No.
21    Exemption request                             21       Q. Well, I'll provide some intro --
22                                                  22 introduction about depositions. In some ways,
                                                6                                                       8
1       14 (Highly Confidential)                    1 it's just a conversation, you know, where I
2      UVA_0002396-Print-out of Information         2 ask questions, you answer, but it's a little
3      from the Vax Trax system                     3 different. It's a little more formal,
4       15 (Highly Confidential)                    4 obviously, and -- and then we have a court
5      UVA_0002672-Print-out of Information         5 reporter of sorts taking down what is said
6      from the Vax Trax system                     6 today. And so there's just a few things that
7            16 (Highly Confidential)-Preliminary   7 are helpful and I'll just cover those now, but
8      Analysis-Produced Subject to                 8 before I do, we -- we have a different court
9      Objections and Response to                   9 reporter here than -- than I'm used to and --
10     Plaintiffs' First Set of                     10 but I believe, Counsel, we've spoken off the
11     Interrogatories                              11 record about that and -- and neither party
12           17 (Highly Confidential)               12 objects to the court reporter that is here
13     UVA_0003035-Print-out of Information         13 today and the means of -- of stenography
14     from the Vax Trax system        67           14 that's occurring.
15           18 (Highly Confidential) Email sent    15           MS. McGRAW: That's correct.
16     on 9.3.2021-from Qualtrics Religious         16 For purposes of this deposition, we do not
17     Exemption to UVA HR Health Screenings        17 object to the digital court reporter. We do
18     Pre-Hire Religious Request      125          18 reserve all objections to the informal video.
19           19 UVA Office for Equal Opportunity    19           MR. KIRSNER: I concur with
20     and Civil Rights-Religious Workplace         20 Wendy    on behalf of                 .
21     Accommodation Request Procedures 198         21           MR. DIEHL: Thank you.
22                                                  22           MS. McGRAW: And Sam, also just
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                                       Transcript of                                                   3 (9 to 12)

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                                                     9                                                           11
1 while we're going over these housekeeping               1       A. Yes.
2 matters, I think we agreed in the prior                 2       Q. And, again, you're doing a good
3 deposition that if I make an objection, it's            3 job. If -- if I remind you of that during the
4 not necessarily -- necessary for Mr. Kirsner            4 day, just understand that I'm not -- it's --
5 to join in and vice versa. That the                     5 it's not personal and I'm -- I'm a normal
6 objections will be for both. For both for               6 person and would normally be just fine with
7              in     individual capacity and for         7 someone saying, uh-huh, you know, to a simple
8 UBA, regardless of which counsel makes the              8 question, but -- but if I remind you, it's
9 objection.                                              9 just -- it's just to remind you for the record
10          MR. DIEHL: That is correct.                   10 and this formality that we have here. If --
11 And we appreciate that.                                11 if you don't understand a question, will you
12 BY MR. DIEHL:                                          12 let me know?
13      Q. So obviously there's some things               13      A. Yes.
14 we need to say for the record today and -- and         14      Q. And if you answer a question, is
15 one thing that's helpful in that is if we try          15 it fair to assume you understood the question?
16 not to speak over each other. So when I ask a          16      A. Yes.
17 question, will you try to wait till I finish           17      Q. How long -- what -- what is your
18 my answer, my -- I'll see that then I object           18 -- can you. Let's just start back. Can you
19 to my introductory remarks. When I ask a               19 say and spell your name for the record?
20 question, will you wait till I finish the              20      A.
21 question before you start your answer?                 21
22      A. Yes.                                           22      Q. And I understand you work for
                                                     10                                                          12
1       Q. And I'll do the same for you to                1 the University of Virginia?
2  the extent possible, but if -- if I speak over         2       A. I do, yes.
3 you or you have more to say in a particular             3       Q. And what is your position?
4 answer, will you let me know?                           4       A. Senior Human Resources Business
5        A. Yes.                                          5 Partner.
6       Q. And is there any reason you will               6       Q. And how long have you held that
7  have  -- have any physical or mental issue with        7  position?
8 your memory today?                                      8       A. For three-and-a-half years.
9        A. No.                                           9       Q. And what did you do before you
10      Q. Is there any other reason why                  10 held the senior HR business position for UVA?
11 you might not be able to testify truthfully            11      A. Manager of employee relations.
12 about matters that might be relevant to this           12      Q.    At -- at UVA?
13 lawsuit?                                               13      A. At UVA.
14       A. No.                                           14      Q. And then when did you start that
15      Q. And you're doing a great job so                15 job?
16 far, but one of the things that's helpful for          16      A. June of 2019.
17 the record is because we're going to have a            17      Q.    And what did you do before for
18 written transcript, if the -- if it's a yes or         18 work before that?
19 no question, to speak audibly and say yes or           19      A. Human resources consultant for
20 no rather than uh-ugh or uh-huh, just because          20 the University   of Missouri.
21 it doesn't come across clearly. Does that              21      Q. As a consultant, were you an
22 make sense?                                            22 employee   or -- or --
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                                    Transcript of                                              4 (13 to 16)

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                                                  13                                                      15
1       A. Yeah.                                       1 go or where did you obtain that degree?
2       Q. -- some other type of worker?               2       A. Washington Adventist University.
3 Sorry.                                               3       Q. Is that Seventh-day Adventist as
4       A. Yes. A university employee as a             4 in Adventist?
5 Senior Human Resources Consultant for the            5       A. Yes.
6 School of Medicine. So, yes, an employee.            6       Q. Are you personally a Seventh-day
7 Not an independent contractor.                       7 Adventist?
8       Q. So the -- the idea is that you              8       A. Yes.
9 consult the managers at the -- at the                9       Q. Do you -- do you attend a
10 university hospital. Is that the -- that's          10 Seventh-day Adventist church?
11 the consulting part. Not as an independent          11      A. Yes.
12 consultant obviously?                               12      Q. What is -- what church is that?
13      A. Correct.                                    13      A.
14      Q. And how long did you work in                14
15 that position?                                      15      Q. Are you married?
16      A. For three years.                            16      A. Yes.
17      Q. What did you do before that?                17      Q. What -- what's the name? What
18      A. Prior to that, I was at the                 18 is your          name?
19 University of Rochester.                            19      A.
20      Q. That's Rochester, New York?                 20      Q. What does your husband do?
21      A. Rochester, New York, yes.                   21      A.                           for UVA.
22      Q. I don't think there's a                     22      Q. What -- what does that -- do you
                                                  14                                                      16
1 University of Rochester, Minnesota, but there        1 know what that job entails?
2 is, I guess, Mayo has the university. And            2             MS. McGRAW: Object to the form.
3 what did you do at the University of                 3 You can answer.
4 Rochester?                                           4             THE WITNESS: To ensure -- well,
5       A. Human Resources Business                    5 to ensure diversity, equity and inclusion
6 Partner.                                             6 within UVA in regards to hiring, in regards to
7       Q. And how long -- what time period            7 student success.
8 did you work for the University of Rochester?        8 BY MR. DIEHL:
9       A. So 20 -- June 2016 through June             9       Q. Do -- do you personally have any
10 2019.                                               10 duties related to diversity, equity and
11      Q. Do you have a degree in human               11 inclusion?
12 resources?                                          12       A. So define duties.
13      A. I have a degree in                          13      Q. Job duties?
14 organizational development.                         14       A. Yes.
15      Q. And -- and when did you receive             15      Q. What are those or how would
16 that degree?                                        16 that -- I guess, what would the duties be?
17      A. I received my master's degree in            17       A. Serve on a diversity, equity and
18 2013 from University of Rochester.                  18 inclusion committee for human resources.
19      Q. And then what was your                      19      Q. And who -- well, I guess, not
20 undergraduate degree?                               20 the names, but what -- what people are the --
21      A. Organizational management.                  21 are HR people on that committee?
22      Q.    And where did -- where did you           22       A. Yes. It's an HR focus
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                                  Transcript of                                         5 (17 to 20)

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                                               17                                                 19
1 committee.                                        1 any HR related matters in general would come
2       Q. Is it HR business partners or            2 to a HR business partner.
3 any different roles?                              3        Q. And who do you report to?
4       A. A variety of roles.                      4        A. I report to Jenny Babcock.
5       Q. what -- what does that committee         5        Q. What -- what is Ms. Babcock's --
6 do?                                               6 Ms. Babcock's title?
7       A. Provides trainings, monthly              7        A. HR Director.
8 trainings, education, awareness of diversity,     8        Q. And then who does Ms. Babcock --
9 equity and inclusion matters.                     9 Babcock report to?
10      Q. What have you provided or do             10       A. Katy Hoffman.
11 members   of the committee provide training      11       Q.   Are those duties same -- your --
12 through that, or is it outside?                  12 your -- your current duties, are those the
13      A. It's through organizational              13 same general duties that you had in 2020 and
14 development within UVA or it could be various    14 2021?
15 speakers within UVA. So in terms of              15       A. So and -- so I started at --
16 trainings, UVA provides LinkedIn training. So    16 so --
17 it could be training on LinkedIn. However,       17       Q. Oh, yeah. Okay. So I should
18 these are not mandatory trainings.               18 clarify. So you started as -- what -- what
19      Q. So are they trainings for human          19 did you do as an -- I'm going to jump back.
20 resources personnel or are they for everyone?    20 You started as an manager of employee
21      A. For everyone.                            21 relations. What -- what did you do in that
22      Q. What -- I'm -- I'm going to come         22 job?
                                               18                                                 20
1 back to that, but I -- I want to ask about        1        A. Yeah. So I supervised eight
2 your -- your job, your other job duties as a      2 employee relation consultants, and the
3 senior HR business partner in your current        3 consultants were responsible for gathering
4 job. What are -- what -- what do you do?          4 information in terms of employee and manager
5       A. I support the Department of              5 conflict incidents. So I was responsible for
6 Medicine within the School of Medicine and The    6 leading the team, coaching the team, their
7 Center for Diabetes.                              7 performance evaluations.
8       Q. And what -- what -- what's the           8        Q. How would the -- how would
9 difference between the School of Medicine and     9 conflict -- resolving conflict incidents, how
10 the Department of Medicine?                      10 did that occur or was it supposed to?
11      A. Well, the School of Medicine is          11       A. Employees or managers would call
12 comprised of several departments, research       12 an ER consultant to discuss the matter. The
13 centers and institutes. The Department of        13 ER consultant would gather the information
14 Medicine is just what it is. It's the            14 from the employee and manager and then discuss
15 Department of Medicine, and it has nine          15 ways to resolve the conflict, or if additional
16 divisions under the Department of Medicine.      16 -- if -- if additional assistance was needed,
17      Q. And -- and what -- what do you           17 then they would reach out to EOCR.
18 functionally do for -- for those areas?          18       Q. And that's --
19      A. Yeah. So I provide constant              19       A. Equal Opportunity and Civil
20 consultation  in regards to compensation,        20 Rights.
21 resolve employee relation matters. I ensure      21       Q. That's an office?
22 performance evaluations are completed. Any --    22       A. Yes.
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                                                     21                                                       23
1        Q. That's in Virginia?                           1 better term?
2        A. Yes.                                          2       A. Repeat your question.
3        Q. And when -- when there was a                  3       Q. Well, let -- let me maybe ask or
4 conflict, was part of your -- what -- did --            4 define a term or the -- if I use the term UVA
5 did you actually -- let me step back.                   5 Health, what -- what does that term mean to
6        With respect to resolving conflicts,             6 you?
7 did you actually participate in that process            7            MS. McGRAW: Object to the form.
8 yourself, or did you supervise employees that           8            THE WITNESS: Well, I -- I
9 helped resolve conflicts?                               9 supported the School of Medicine. The school
10       A. It -- it depended on the                      10 of Medicine reports up to UVA Health. So the
11 complexity of the issue.                               11 dean reports to President Kent of UVA Health.
12       Q. So you might get involved if                  12 BY MR. DIEHL:
13 something more complex?                                13      Q. Is UVA Health sort of a
14       A. Yes.                                          14 shorthand for the UVA Health System?
15       Q. And was it -- was part of the                 15           MS. McGRAW: Object to the form.
16 process   to get to -- to have -- get people to        16           THE WITNESS: Yes.
17 talk to each other and understand each other?          17      Q. Now, I understand, are you
18 Is that part of the conflict resolution                18 technically on the academic side personally?
19 process?                                               19 Your -- your job is personally on the academic
20       A. Yes.                                          20 side?
21       Q.    Did -- did some of the conflicts           21      A. School of Medicine is academic.
22 often result or did conflicts result from --           22 So, yes, I am an academic employee.
                                                     22                                                       24
1 let me just start over.                                 1      Q. And -- and but the School of
2       In your experience there, did you see             2  Medicine  is also part of UVA Health?
3 that conflicts might result from a                      3       A. Yes.
4 misunderstanding in communication?                      4      Q. So if I use the term UVA Health
5             MS. McGRAW: Object to the form.             5 today, just know that I'm referring to the UVA
6             THE WITNESS: Yes.                           6 Health System.
7  BY   MR.   DIEHL:                                      7       A. The hospital.
8       Q. You understand what I mean by a                8      Q. Well, what -- what is the hos--
9 misunderstanding in communication?                      9 the -- the medical center. What do you mean
10      A. Yes.                                           10 by hospital?
11      Q. And when did you move to the --                11      A. Well, I'm needing clarification
12 again  -- again, sorry for asking, but when did        12 from -- how do you define it?
13 you move to the senior HR business partner             13     Q. Well, I want to define it
14 role?                                                  14 correctly. So -- and I don't work for UVA, so
15      A. November of 2020.                              15 what -- what do you understand, again, UVA
16      Q. So we talked about your duties                 16 Health to be?
17 as a senior   HR business partner. Have those          17           MS. McGRAW: Object to the form.
18 duties been the same from November 2020 until          18           THE WITNESS: UVA Health is the
19 the -- until the present?                              19 hospital.
20      A. Yes.                                           20 BY MR. DIEHL:
21      Q. And have you supported the same                21     Q. Which -- which hospital?
22 areas  of -- of the university, for lack of a          22      A. What do you -- I don't
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                                      Transcript of                                             7 (25 to 28)

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                                                    25                                                      27
1 understand your question.                              1 just referenced between the University of
2       Q. Well, I guess what --                         2 Virginia and the University of Missouri?
3       A. In Charlottesville, Virginia.                 3        A. So my role at University of
4       Q. But it's not -- well, would it                4 Missouri as the senior HR consultant reported
5 include clinics that may not be part of the            5 to an associate dean and the dean of the
6 hospital proper?                                       6 School of Medicine. My position here at UVA,
7            MS. McGRAW: Object to the form.             7 I report to a director of human resources for
8            THE WITNESS: Yes.                           8 the School of Medicine. So the reporting
9 BY MR. DIEHL:                                          9 structure is different.
10      Q. So UVA Health would include the               10       Q. Are there more layers of
11 hospital and any clinics or entities that are         11 reporting structure at UVA?
12 part of the UVA Health System.                        12           MS. McGRAW: Object to the form.
13           MS. McGRAW: Object to the form.             13           THE WITNESS: Yes.
14      Q. Is that fair?                                 14 BY MR. DIEHL:
15      A. Yes.                                          15       Q. Did any of the universities you
16      Q.    Were your duties at -- was it              16 worked   for previously require employees to be
17 University of Missouri?                               17 vaccinated?
18      A. Yes.                                          18       A. I don't remember.
19      Q. Were your duties at University                19       Q. And before 2021, did you have
20 of Missouri or University of Rochester                20 any duties related to vaccination or excuse
21 substantially different than -- than what you         21 me. Request. Did you have any -- let me
22 do at -- have done at UVA?                            22 start over.
                                                    26                                                      28
1        A. No. You know, each -- each                   1        Before 2021, did you have any duties
2 organization defines the titles differently in         2  related  to exemptions from any vaccination
3 the scope of the position differently.                 3 requirements at -- as part of your job at UVA?
4        Q. Did -- do the HR departments                 4        A. No.
5 that you worked in, are they substantially             5        Q. But -- but you did, I
6 different at the different universities you've         6 understand, have duties related to vaccination
7 worked at?                                             7 exemptions beginning in 2021?
8             MS. McGRAW: Object to the form.            8        A. Yes.
9             THE WITNESS: Yes.                          9        Q. What was that?
10 BY MR. DIEHL:                                         10       A. I was part of a committee. I
11       Q. What -- what's -- what are the               11 was a part of a committee, a team committee
12 biggest  differences between UVA's HR                 12 that reviewed religious exemptions.
13 department and University of Missouri?                13       Q. So reviewed requests for
14            MS. McGRAW: Object to the form.            14 religious exemptions submitted by UVA
15            THE WITNESS: In terms of size,             15 employees?
16 in terms of scope, in terms of reporting              16       A. Yes.
17 structure?                                            17       Q.     Did the committee review request
18       Q. So --                                        18 for exemptions from -- from employees that
19       A. Or decentralized versus                      19 didn't -- did not work for UVA?
20 centralized?                                          20            MS. McGRAW: Object to the form.
21       Q. Yeah. So -- so what -- what --               21            THE WITNESS: No.
22 what  is different about those issues that you        22 BY   MR.   DIEHL:
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                                     Transcript of                                                 8 (29 to 32)

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                                                    29                                                        31
1        Q. And if -- if there's -- if I use             1 BY MR. DIEHL:
2 the term team member, is -- what does that             2       Q. Yeah. If you have to -- if you
3 term mean at UVA?                                      3 send a text related to work, do you use your
4        A. For UVA Health, that means an                4 own phone?
5 employee at the hospital that works in the             5            MS. McGRAW: Object to the form.
6 medical center.                                        6 Lack of foundation.
7        Q. When did you first learn that                7            THE WITNESS: Yes.
8 you would be part of the -- the committee that         8       Q. And after you met with Ms.
9 reviewed religious exemption requests?                 9 Fredrick for -- well, I don't know if it's a
10       A. I don't remember.                            10 meeting or not, but after you somehow
11       Q.   If I say -- if I refer to that             11 communicated with Ms. Fredrick about being a
12 committee as the religious exemption committee        12 part of the committee, what -- what do you
13 just to make it shorter, is that -- does that         13 recall happened next with respect to your
14 make sense to you?                                    14 participation in that committee?
15       A. Yes.                                         15      A. That we had a meeting with
16       Q.   Do you recall who talked to you            16 others that were also a part of the committee.
17 about being on that committee?                        17      Q. And when was that? Do you
18       A. Melissa Fredrick.                            18 recall?
19       Q. And what do you recall about                 19      A. I don't. I don't remember.
20 that conversation?                                    20      Q. Was it in the summer of -- of
21       A. I don't remember.                            21 2021?
22       Q. Do you recall anything other                 22      A. I don't remember.
                                                    30                                                        32
1 than asking you to be a part of this                   1        (       1, Exhibit A, Print-out of
2 committee?                                             2  PowerPoint-UVA         Vaccine Religious Accommodation
3        A. No, I don't.                                 3 Requests, marked for identification.)
4        Q. After -- and was that a                      4            (          2, Defendant UVA's
5 in-person conversation?                                5 Objections and Answers to Plaintiffs' First
6        A. I don't remember.                            6 Set of Interrogatories, marked for
7        Q.   Was it -- was it were you                  7 identification.)
8 speaking to each other, whether by video or            8 BY MR. DIEHL:
9 phone or in-person, or was it an email?                9        Q. I'm handing you a document
10       A. I don't remember. I don't                    10 that's been previously marked as Exhibit 1.
11 remember.                                             11 And I -- I said this on the record just
12       Q. Does -- does the University of               12 yesterday, but the -- the -- the first page is
13 Virginia provide you with a -- with a cell            13 -- is something that was submitted in the
14 phone?                                                14 lawsuit. So you can kind of ignore it and
15       A. No.                                          15 that type at the top of this page and then the
16       Q. Do you -- do you use your own                16 subsequent pages. That -- that's from the
17 cell phone if you have to text somebody for           17 lawsuit. So you -- just -- just understand
18 work?                                                 18 that that wasn't originally there. So the
19           MS. McGRAW: Object to the form.             19 document originally started -- you're --
20 Calls for speculation.                                20 you're looking at the first page there where
21           THE WITNESS: Repeat the                     21 it says, Melissa Wolf Riley, and then I'm
22 question.                                             22 going to -- I'll -- if you could keep that
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                                      Transcript of                                             9 (33 to 36)

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                                                    33                                                       35
1 exhibit there, and then I'm going to hand you          1         A. Yes.
2 what's been marked as Exhibit 2 previously.            2         Q. And it's my understanding that
3 And I'd ask you to turn to Exhibit 2.                  3 the PowerPoint that is -- that is -- that is
4        If you look at Exhibit 2, does that             4 Exhibit 1, that PowerPoint was -- was
5 look like a document that you've seen before?          5 discussed at that training?
6        A. Yes.                                         6         A. Yes.
7        Q. When have you seen that                      7         Q. Was that July 1st, 2021 training
8 document?                                              8 the first step after -- excuse me. Let me
9        A. When I was notified of the class             9 start that over.
10 action lawsuit.                                       10        Was the July 1st, 2021 training the
11       Q. Okay. So you've seen something               11 first meeting  that occurred after Melissa
12 related to the lawsuit about this. When were          12 Fredrick asked you to participate on the
13 you notified about the -- the lawsuit?                13 committee?
14       A. I don't remember.                            14           MS. McGRAW: Object to the form.
15       Q. Likely, when around the time it              15           THE WITNESS: I don't remember.
16 was  filed?                                           16 I -- I don't remember.
17       A. I -- I don't remember.                       17 BY MR. DIEHL:
18       Q. So if you take Exhibit 2,                    18        Q. Was there -- do you remember any
19 counsel can confirm this, but this is a               19 other meetings related to the religious
20 document that was provided to us by UVA's             20 exemption committee before the committee
21 lawyers and what -- what's listed as the              21 started to meet and review exemptions?
22 interrogatories, those are questions that we,         22        A. I don't remember.
                                                    34                                                       36
1 the plaintiffs, posed to UVA. So I just want           1        Q. Do you -- do you remember that
2 to point you to Interrogatory No. 3, which is          2  training?
3 on page six. So if you take a minute and just          3        A. Yes.
4 read Interrogatory No. 3 at the -- the bottom          4        Q. And do you recall the -- the
5 of page six, and it's asking about training            5 information provided related to the PowerPoint
6 related to vaccine exemptions. And obviously           6 that is Exhibit 1?
7 you can read the specific words and tell me,           7        A. Yes.
8 are you done reading the interrogatory itself?         8        Q. Did you receive any other
9       A. I am. Yes.                                    9 training related to reviewing religious
10      Q. And then just -- I just want to               10 exemptions, other than the July 1st training
11 ask you in the -- in the answer, there's the          11 where Exhibit 1 was discussed?
12 objections. Those are from the lawyers, but           12       A. No.
13 just -- I want to point you to the first              13       Q. And was the process that's
14 sentence of the answer to Interrogatory No. 3         14 outlined in Exhibit 1 the process that the
15 in the middle of the page there where it says,        15 religious exemption committee used?
16 subject to and without waiving its objections,        16       A. Yes. The process on page 14. I
17 UVA states that a training was held on July           17 just want to make sure that we're referring to
18 1st, 2021 at McKim Hall, and then it continues        18 the right -- the same process.
19 and two sentences later it says, the attendees        19       Q. Sure. That's -- that -- that's
20 were -- and there's a list of people,                 20 very helpful. So you're referring to page 14
21 including you. Do you recall attending that           21 of Exhibit 1?
22 July 1st training?                                    22       A. Yes.
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                                   Transcript of                                                  10 (37 to 40)

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                                                    37                                                       39
1        Q. So could you walk me through                 1 issues that were discussed with the group with
2 that process?                                          2 respect to exemption requests?
3              MS. McGRAW: Object to the form.           3            MS. McGRAW: Object to the form.
4        Q. Using -- using Exhibit 1, if                 4            THE WITNESS: Common, but --
5 it's helpful.                                          5 BY MR. DIEHL:
6        A. Yes. So the team member would                6       Q. So it -- it sounded like that --
7 log into Vax Trax and enter in the -- enter            7 that if a request was incomplete or you didn't
8 employee name, enter employee title, enter             8 understand it, that that's what we discussed
9 department, and then the Vax Trax. So they             9 with the group; is that fair?
10 would enter that in Vax Trax, and they would          10      A. Yes.
11 upload any relevant information related to            11      Q.    So with respect to those issues,
12 their request, and then as an HR senior, HR           12 either incompleteness or not understanding it,
13 business partner, I could review or the               13 were there similar issues among the different
14 committee could review the request. So that           14 requests that you would then discuss with the
15 was the process.                                      15 committee?
16       Q. On page 14 of Exhibit 1 where --             16      A. I don't remember.
17 where it says HRBP, that's HR business                17      Q. You -- you don't remember if
18 partner?                                              18 there were -- were there issues that were
19       A. Correct.                                     19 repeated among many requests that were then
20       Q. And -- and HRBP panelist, that's             20 discussed with the committee?
21 -- is that referring to the members of the            21      A. I don't remember.
22 committee?                                            22      Q. On page eight of Exhibit 1,
                                                    38                                                       40
1       A. Yes.                                          1 there's -- sorry. I think that's Exhibit 2.
2       Q.    Did you review exemptions                  2 Exhibit 1 is the PowerPoint. Sorry. Do you
3 individually and -- well, yeah. Did you                3 -- do you have page eight of the PowerPoint in
4 review exemptions individually or as a group?          4 front of you?
5       A. I reviewed -- I reviewed                      5       A. Yes.
6 exemptions individually and also with the              6       Q. And what do you know about --
7 team. With the committee.                              7  this page talks about undo hardship, correct?
8       Q. What was -- was there a reason                8       A. Yes.
9 some would be reviewed by you and some would           9       Q. What do you know about undue
10 be reviewed by the committee?                         10 hardship as it relates to the religious
11      A. Yes.                                          11 exemption process in 2021?
12      Q.    What was that?                             12      A. So undue -- undue hardship,
13      A. Individually, if I felt as --                 13 undue hardship -- let's see. Employer can
14 individually if the request was incomplete or         14 demonstrate undue hardship by showing
15 needed additional information or                      15 proposal. Yeah. So if an employee -- if an
16 understanding, then we would have an                  16 employee's job was assigned to working with
17 opportunity to meet as a committee to discuss.        17 patients and the employee decided not to get
18      Q. So if the request was complete                18 the -- the vaccine, given that would pose a
19 and -- and could either be reviewed or denied,        19 burden on the -- on the department.
20 then you would do that on your own?                   20           MS. McGRAW: I'm going to --
21      A. Yes.                                          21           THE WITNESS: Or --
22      Q.    Do you recall any -- any common            22           MS. McGRAW: I'm sorry.
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                                      Transcript of                                             11 (41 to 44)

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                                                    41                                                       43
1             THE WITNESS: Yeah.                         1            MS. McGRAW: Object to the form.
2             MS. McGRAW: I'm just saying                2            MR. KIRSNER: Mischaracterizes.
3 interposing a belated objection to the extent          3 BY MR. DIEHL:
4 we're asking for a legal conclusion here.              4       Q. Yeah. I'm sorry. Just -- can
5 BY MR. DIEHL:                                          5 you explain what you mean as far as what you
6       Q. Just -- you're not an attorney,               6 remember about the issue of undue hardship in
7 are you?                                               7 the religious exemption committee?
8       A. I am not, no.                                 8       A. So as it relates to the training
9       Q. So just know that any questions               9 and as it relates to reviewing the religious
10 I ask today, I'm not asking for your legal            10 exemptions, if -- if the request demonstrated
11 opinion. I'm just asking for your personal            11 undue hardship, all of those it was taken into
12 opinion. Either your personal opinion or              12 consideration and reviewed thoroughly.
13 professional opinion as an HR person. Does            13      Q. By you and members of the
14 that make sense?                                      14 committee?
15      A. Yes.                                          15      A. Yes.
16      Q.      With respect to the issue of             16      Q.    What did -- what did you use to
17 undue hardship that you were just discussing,         17 -- what information did you use to judge that
18 was that a part of -- how did that issue fit          18 issue?
19 into the committee's work that you're -- the          19      A. There were two questions that
20 -- the religious exemption committee?                 20 were asked and so reviewing -- reviewing the
21      A. I don't remember.                             21 request for completeness. So there were two
22      Q. Do you not remember that --                   22 questions that were asked in ensuring that the
                                                    42                                                       44
1 well, let me -- let me rephrase that                   1 -- the team member answered the two questions
2 differently.                                           2 that were asked.
3       When you say you don't remember, was             3      Q. What -- what about those
4 that you don't remember that the committee had         4 questions related to the issue of undue
5 any work or duties related to undue hardship?          5 hardship?
6           MS. McGRAW: Object to the form.              6           MS. McGRAW: I'm going to object
7       Q. Or there were, but you don't                  7 to the use of the phrase undue hardship,
8 remember the specifics?                                8 including whether you're talking about an
9           MS. McGRAW: Object to the form.              9 undue hardship to an employee who's making the
10          THE WITNESS: I don't remember                10 request or undue hardship to an employer.
11 the specifics.                                        11 BY MR. DIEHL:
12 BY MR. DIEHL:                                         12     Q. Well, as we've been talking
13      Q. So you -- so you the committee                13 about undue hardship, you understand that I've
14 did have, to your knowledge, did the committee        14 been talking about it as that term is used on
15 have duties related to undue hardship? The            15 page eight of Exhibit 1, correct?
16 issue of undue hardship?                              16          MS. McGRAW: I've asked the
17      A. I don't remember the specifics.               17 witness to read page eight of Exhibit 1.
18      Q. Whether or not you remember the               18          MR. DIEHL: Counsel, let's -- I
19 specifics, you generally remember that the            19 don't want your testimony today. I want the
20 committee had some duties related to undue            20 witness' testimony. If you could have proper
21 hardship?                                             21 objections and stick to those, that would be
22      A. Yes.                                          22 helpful.
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                                     Transcript of                                                12 (45 to 48)

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                                                    45                                                       47
1           MS. McGRAW: You're referring to              1 undue hardship was taken into consideration?
2 the exhibit.                                           2           MS. McGRAW: Same objection as
3           MR. DIEHL: I'm asking the                    3 made previously.
4 witness about the exhibit. Don't tell the              4           THE WITNESS: What I remember is
5 witness what to do.                                    5 undue hardship being a part of the training
6           MS. McGRAW: I'm asking the                   6 document, but also it being separate and apart
7 witness to read the document before                    7 from granting or denying. So it -- it -- it
8 responds to your request.                              8 was not the committee's responsibility to
9 BY MR. DIEHL:                                          9 determine if it was undue hardship or not. It
10     Q. You -- you've -- you've read                   10 was the committee's responsibility to review,
11 page eight of Exhibit 1, correct?                     11 to review the religious exemption request.
12     A. Yes.                                           12 BY MR. DIEHL:
13     Q. And -- and when we were talking                13      Q. So the -- the committee did not
14 about undo hardship over the past several             14 take undue hardship into consideration when --
15 questions, you understood that's what we've           15 when it was discussing requests?
16 been referring to what's written on Exhibit 8?        16          MR. KIRSNER: Objection. Asked
17          MS. McGRAW: Objection.                       17 and answered.
18     Q. Excuse me. Page eight of                       18          THE WITNESS: I don't remember.
19 Exhibit 1?                                            19      Q. If you go back to page 14 of
20          MS. McGRAW: Object to the form.              20 Exhibit 8, the Vax Trax. When we say Vax
21          THE WITNESS: Yes.                            21 Trax, what -- what is Vax Trax?
22 BY MR. DIEHL:                                         22      A. Vax Trax is a system that was
                                                    46                                                       48
1       Q. So, I'm going to ask the same                 1 used to -- to indicate if a team member has
2 questions again, unfortunately, just because           2 been vaccinated or not.
3 lawyers have to make objections to record and          3       Q. And so the team member that --
4 I want to make sure the record's clear, so             4 that shows if they're vaccinated, but that's
5 I'll -- I'll go back through it.                       5 also where employees would make requests for
6       Based on as a result of the objections,          6 exemption?
7 we talked about the issue of undue hardship            7       A. Yes.
8 and, again, we're referring to as that is              8       Q. And did the religious exemption
9 discussed on page eight of Exhibit 1. Do you           9 committee have anything to do with medical --
10 understand that?                                      10 request for exemption related to medical
11      A. Yes.                                          11 issues?
12      Q. And you talked about the issue                12      A. No.
13 of undue hardship with respect to the                 13      Q. Did you have any knowledge of
14 committee's work and reviewing exemption              14 the process for -- that employees would use to
15 requests. Can you tell me what that -- what           15 request a medical exemption from the COVID
16 the committee did with respect to that issue          16 vaccine requirement?
17 again?                                                17      A. No.
18      A. I don't remember.                             18      Q. So back to page 14 of Exhibit 1.
19      Q. As I look back through -- as I                19 The team member would submit an exemption
20 recall  your testimony, I believe you had             20 request in Vax Trax, and then that request
21 mentioned that -- that as the committee               21 would be -- was -- was pulled by the
22 reviewed exemptions requests, the issue of            22 designated HRBP panelist. What does it mean
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                                   Transcript of                                                13 (49 to 52)

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                                                    49                                                       51
1 to pull -- what does -- what does request as           1          MR. DIEHL: Yeah, I understand
2 pulled mean?                                           2 that.
3       A. To retrieve the religious                     3            MS. McGRAW: You have to select
4 exemption request to review.                           4 tables.
5       Q. So you would receive notice that              5 BY MR. DIEHL:
6 there's requests to review. How -- how would           6       Q. It's my understanding that this
7 you know which ones to review or pull?                 7 is information taken from the Vax Trax system.
8       A. Login and check Vax Trax.                     8 Does -- does this -- does the information or
9       Q. Do you know how -- how some were              9 format -- well, does the information -- let me
10 assigned to you or some were assigned to other        10 break it apart.
11 members of the committee?                             11      Does the information on Exhibit 6 look
12      A. How what?                                     12 familiar to you?
13      Q. Do you know how some requests                 13      A. Yes.
14 were assigned to you versus other members of          14      Q. It's my understanding that the
15 the committee?                                        15 ID there is a -- is a new ID that was provided
16      A. It was assigned by volume. For                16 in this lawsuit to anonymized the individuals,
17 example, if 50 came in one day, then they were        17 and then the change by ID where it says
18 divided among the team. The committee                 18 requester is -- it was added by the lawyers in
19 members.                                              19 this lawsuit. That's my understanding. The
20      Q. Would -- was it -- was it, to                 20 rest of the information is -- is what was in
21 your  knowledge, random in terms of which of          21 the Vax Trax system or what is in the Vax Trax
22 the -- other than the number which, for               22 system. I don't see any information in this
                                                    50                                                       52
1 example, area of UVA Health the employee               1 document, Exhibit 6, that shows what
2 worked in?                                             2 department the employee worked in. Do you see
3       A. It was random.                                3 that anywhere?
4       Q. And when you received requests,               4        A. I do not.
5 did you receive information about where this           5        Q. Where -- and there -- but there
6 employee worked?                                       6 was that information there or, yeah, there
7       A. Where the employee worked was on              7 was. Let me -- let me ask that again.
8 the form. It has department and title.                 8        When you used the Vax Trax system in
9             (        6, (Highly                        9 2021 to review exemption requests, there was
10 Confidential)-UVA_0002368-Print-out of                10 information about where the employee worked in
11 Information from the Vax Trax system, marked          11 the system?
12 for identification.)                                  12       A. Department.
13      Q. I'm going to hand you a document              13       Q. And then was there titles in the
14 that was previously marked as Exhibit 6. And          14 -- in the Vax Trax system for employees who
15 I understand this is a printout of information        15 made requests for exemption?
16 from the Vax Trax system. That's my                   16       A. Yes.
17 understanding.                                        17       Q.    How would that -- where was that
18            MS. McGRAW: It's just -- it's a            18 shown, I guess. Do you -- if you recall?
19 printout of tables from Vax Trax. Vax Trax            19       A. On the requested form. So this
20 database. I just want to make sure that's             20 -- on  the requested form. So an employee
21 clear. It's not like these are documents that         21 would login -- well, actually, I don't know
22 are just sitting in Vax Trax.                         22 what it looks like from an employee logging
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                                       Transcript of                                               14 (53 to 56)

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                                                      53                                                       55
1 in, but to review, it would have name,                   1       A. Then the employee would be
2 department, title. This form only indicates              2 notified. The employee received notification
3 employee infor -- employee information, so.              3 of the answer.
4             MR. DIEHL: I don't think we                  4       Q. Would -- would anyone else, to
5 received that information.                               5 your knowledge, review the decision to approve
6             MS. McGRAW: You have received                6 or deny it other than if you had made that
7 it. It's in a spreadsheet from Workday. What             7 decision by yourself without the committee?
8 I'm trying to explain to you is what         sees        8            MS. McGRAW: Object to the form.
9 in Vax Trax is different than printing tables.           9            MR. DIEHL: Let me -- let me
10            MR. DIEHL: I understand that.                10 break it apart.
11            MS. McGRAW: So the form itself               11           MS. McGRAW: Okay.
12 had that information on it. It's been                   12 BY MR. DIEHL:
13 produced to you on a spreadsheet that                   13      Q. So, for example, you -- for some
14 corresponds to each one of these numbers.               14 requests, you would review the request
15 BY MR. DIEHL:                                           15 yourself, and then based on your review, you
16      Q. I'll come back to that. And I                   16 would approve the request; is that fair?
17 didn't say this earlier, but if at any point            17      A. Yes.
18 you need a break or want to take a break, just          18      Q. And so for that request, to your
19 let me know, and I'll try to take it as soon            19 knowledge, would someone else at UVA review
20 as possible or might finish a question or two           20 the decision before that decision was
21 if were finishing a topic. So I'll come back            21 communicated to the employee who made the
22 to the issues of -- of department and titles,           22 request?
                                                      54                                                       56
1 but I guess when you reviewed an exemption               1       A. I don't remember.
2 request in 2021, as part of the religious                2       Q.    Do you not remember that whether
3 exemption committee, was the department and              3 that -- whether that occurred or whether it
4 title of the employee relevant to your review?           4 didn't occur?
5        A. No.                                            5            MS. McGRAW: Object to the form.
6        Q. And if we go back to page 14 of                6 Asked and answered.
7  Exhibit  1, sorry to jump around, but that's            7 BY MR. DIEHL:
8 the PowerPoint there. Do you have page 14 in             8       Q. Well, do you understand that --
9 front of you?                                            9 so the difference is -- is do you -- you don't
10       A. Yes.                                           10 believe that occurred because you don't recall
11       Q. And the panelists that -- that                 11 that occurring or you're not sure whether it
12 -- that would be you for some, correct?                 12 occurred or not? Do you understand that
13       A. Yes.                                           13 difference?
14       Q. You review the request and then                14      A. I do understand the difference.
15 -- and then what happens?                               15      Q. So what -- what's -- what --
16       A. Review the request for                         16 when you say you don't -- you don't remember,
17 completeness and -- and indicate approve or             17 you don't recall what was -- what does that
18 deny, or hold to be further discussed with the          18 mean in this -- with respect to whether
19 committee.                                              19 another person reviewed the approval before it
20       Q. And if you, based on that review               20 was communicated to the employee?
21 without the committee, if you approved or               21      A. Well, if there was an approval
22 denied a request, then what would happen?               22 after I approve, I don't believe so.
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                                       Transcript of                                                15 (57 to 60)

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                                                     57                                                         59
1         Q. Did anyone at any point tell you             1      A.     I don't --
2 that there was a certain number of approved             2            MS. McGRAW: Object to the form.
3 exemptions that -- that UVA could grant, but            3            THE WITNESS: I don't remember.
4 -- but that there was a limit on the number of          4 BY MR. DIEHL:
5 -- of approvals that could be granted?                  5       Q. In your -- when you reviewed
6         A. No.                                          6 requests for religious exemption, did you
7         Q. Did anyone tell you that if we               7 consider whether an employee had requested a
8 grant too many of these, that would be unsafe           8 religious exemption from any other vaccine as
9 for others at the -- at -- in the health                9 part of your review of a request in 2021?
10 system or our patients?                                10      A. That information is on this form
11        A. No.                                          11 on Exhibit 2.
12             MS. McGRAW: Object to the form.            12      Q. Six?
13             THE WITNESS: No.                           13      A. Six.
14 BY MR. DIEHL:                                          14      Q. That's what you're referring to?
15        Q. With respect to requests that                15      A. Well, what I'm saying is the
16 were    granted, do you recall any themes or --        16 question, vaccine information is located on
17 or common reasons why they were approved?              17 the -- on this form. So in reviewing for
18        A. No.                                          18 completeness, the team member or when
19        Q. Were you aware of the issue of               19 requesting the team member had to indicate if
20 if -- let me back up.                                  20 they received vaccine before.
21        It's my understanding that for                  21      Q. And then was that -- whatever
22 employees that had received a religious                22 information was provided with respect to
                                                     58                                                         60
1 exemption that was approved in 2019 or 2020             1 receiving a previous vaccine, was that
2 with respect to the flu vaccine requirement,            2 considered by you as part of your review of
3 those employees would automatically be                  3 their new request in 2021 related to the COVID
4 approved for an exemption from the COVID                4 vaccine?
5 vaccine requirement. Is that your                       5       A. I don't remember.
6 understanding?                                          6       Q. Do you remember criteria that
7        A. I didn't work on -- I only                    7  you  used  for considering whether to approve or
8 participated in the religious exemptions.               8 deny a request in -- in 2021 as part of your
9        Q. And do you know                      ?        9 work for the committee?
10       A. Yes.                                          10      A. Reviewing the form for
11       Q. And it's my understanding that                11 completeness, there were two questions that
12      reviewed requests for religious exemption         12 the team member had to answer.
13 from the flu vaccine in 2019 and 2020. Are             13      Q. Do you -- do you recall what
14 you aware of that?                                     14 those questions were?
15       A. No. I was not on that team                    15      A. I don't remember.
16 during that time.                                      16      Q. The -- if you look at Exhibit 6,
17       Q. Did do you recall                             17 the -- on the first page, there's a table that
18 discussing the issue of whether an employee            18 has the word S-T-R-U-C-T at the top. Do you
19 had requested and been approved for a                  19 see that? It's in -- it's in a black, yeah.
20 religious exemption in 2019 or 2020 that might         20 Do you see that, S-T-R-U-C-T?
21 affect a request for religious exemption in            21      A. Yes.
22 2021?                                                  22      Q.     So if you look at that table --
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                                      Transcript of                                                  16 (61 to 64)

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                                                     61                                                          63
1 and when I say table, I mean the -- the                 1      Q. And then there's a notation
2 columns and rows that don't have a break in             2 about an email being sent and then            Do
3 before the next label S-T-R-U-C-T. Do you see           3 you see that?
4 where that table is I'm referring to?                   4      A. Yes.
5       A. Yes.                                           5      Q. It's my understanding that's
6       Q. So at the bottom two rows on the               6                   ' initials?
7 left side, it says religious belief comment             7      A. Yes.
8 and religious comment. Did that information             8      Q. What -- what initials did you
9 relate to the -- those two questions that you           9 put in?
10 were just talking about?                               10     A. I don't remember.
11      A. I don't remember.                              11     Q.     What -- what are your -- do you
12      Q. What -- do you -- what was your                12 have three initials?
13 ID in the Vax Trax system? ID number, excuse           13     A. Yes.
14 me.                                                    14     Q. What are they?
15      A. I don't remember what my ID                    15     A.               .
16 number was in the Vax Trax system.                     16     Q.     Probably     a good time for a short
17      Q. I've seen eight and seven.                     17 break.
18 Eight I understand to be                  . And        18     A. Yeah.
19 then I've seen 71.                                     19          (Off the record.)
20      A. I don't remember what my -- I                  20 BY MR. DIEHL:
21 don't remember.                                        21     Q. All right. We're back on the
22      Q. And then I've seen a four digit                22 record. Just meaning that the court -- the
                                                     62                                                          64
1 number. I've seen 2397. None of those ring a            1 court reporter is going to be taking down the
2 bell?                                                   2 transcript. And I -- I won't do this every
3        A. No.                                           3 time, but you understand that as we take
4        Q. What are your -- I understand                 4 breaks throughout the day, you're still under
5 that at times employees would put their                 5 oath and -- and as you're testifying?
6 initials in the -- in the -- in -- well, I'll           6       A. Yes.
7 show you an example. If you go to page 2385             7       Q.     I'm going to mark a new exhibit,
8 and -- and what I'm referring to as the                 8 which I believe is 16. So do you recognize --
9 numbers at the bottom, those are -- those were          9 well, have you seen Exhibit 16 before? It's
10 added as part of the lawsuit. They're called           10 my understanding this was created for the
11 -- if I refer to them as a Bates label, that's         11 lawsuit, but if you look at the top, there's a
12 what I'm talking about, or Bates number. So            12 notation workday information for users with
13 if you go to the page with 2385 at the bottom.         13 approved COVID-19 religious exemption
14       A. Uh-hum.                                       14 requests. Do you see that?
15       Q. I'm sorry. I didn't hear a                    15      A. Yes.
16 response.                                              16      Q. When we talked about the title
17       A. Yes.                                          17 and  department   for employees who made requests
18       Q. And if you see up at the top in               18 for religious exemption, is this that type of
19 the partial table that is at the top of page           19 information?
20 2385, there's a religious admin comment. Do            20      A. No.
21 you see that?                                          21      Q. What is different?
22       A. Yes.                                          22      A. In Vax -- Vax Trax, it requires
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                                    Transcript of                                               17 (65 to 68)

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                                                   65                                                       67
1 the person, the team member's name, title and         1        A. Request department.
2 department. I have not seen this document             2       Q. -- request department labels
3 before. I think that was the first question           3 listed in the column on Exhibit 16?
4 you asked. So the answer is, no, I have not           4        A. Yes.
5 seen this document before.                            5       Q. And then there's request job
6        Q. Okay. So looking at the request             6 profile name. Do you see that column on
7 department, the first line has an ID. So              7 Exhibit 16?
8 well, let me -- let me step back. It's my             8        A. Yes.
9 understanding and -- and counsel can confirm          9       Q. And there -- there's some
10 that the first column is a unique ID that was        10 information for the different requesters
11 created for the lawsuit. So those IDs                11 there. Do those look like the titles that you
12 wouldn't have existed before. So you -- so I         12 saw in Vax Trax?
13 understand you wouldn't have seen those, but         13       A. In terms of titles, yes.
14 if you look at the line beginning at with ID         14      Q. And I believe you answered this
15 eight, do you see where it says MC-2725000           15 before, but as you reviewed exemption requests
16 Nursing Professional Dev SVCS?                       16 as part of your work for the committee in
17       A. Yes.                                        17 2021, was the title of the employee or the
18       Q. And is that a -- is that                    18 department that was listed in Vax Trax, was
19 department information?                              19 that relevant to your review?
20       A. Did you -- repeat the question.             20       A. No.
21       Q.    Well, so the -- the label on             21           (            17, (Highly
22 that column is request department. Do you see        22 Confidential)-UVA_0003035-Print-out of
                                                   66                                                       68
1 that?                                                 1 Information from the Vax Trax system, marked
2       A. Yes.                                         2 for identification.)
3       Q. And so I'm just trying to                    3       Q. Let's mark Exhibit 17. And do
4 understand if this is similar or the same type        4 you recognize Exhibit 17 as a printout of
5 of department information that you would have         5 information from the Vax Trax system?
6 seen in the Vax Trax system?                          6       A. Yes.
7       A. No.                                          7       Q.    And, again, the ID 43 relates to
8       Q. How -- what did the information              8 a particular employee, but that wouldn't have
9 regarding departments, what did that look like        9 been part of the Vax Trax system when -- when
10 in the Vax Trax system?                              10 you reviewed it. Do you understand that?
11      A. The team member would have to                11      A. Yes.
12 indicate name of the department. I've never          12      Q.    So at the bottom of page 17,
13 seen this document before. I don't -- I've           13 there looks like there's -- there was
14 never seen this document before.                     14 information provided by the requester. It
15      Q. And so -- so the employee would              15 says they're in the change by ID row. Do you
16 -- your understanding would type in a                16 see that?
17 department?                                          17      A. Yes.
18      A. Yes. I don't know that once                  18      Q. And, again, counsel can confirm,
19 they typed in their department, it would             19 but the requester is -- was changed by the
20 populate this information. Like, this does           20 lawyers, but that refers to the same person as
21 not look familiar to me.                             21 ID 43, but it -- rather than have their name
22      Q. And you're referring to the --               22 there or an individual ID, it just says
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                                     Transcript of                                              18 (69 to 72)

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                                                    69                                                      71
1 requester. So I'm just -- I'm representing             1       Q. If you were going to go about
2 that to you, but do you understand that?               2 reviewing this request, if it was assigned to
3       A. I understand that. So the                     3 you in 2021 as part of your work -- as part of
4 requester is identified as 43.                         4 your work for the committee, how would you
5       Q. Correct. That's my                            5 have gone about that?
6  understanding.                                        6           MS. McGRAW: Object to the form.
7            MR. DIEHL: Is that your                     7 Calls for speculation.
8 counsel?                                               8 BY MR. DIEHL:
9            MS. McGRAW: Yes. The ID 43 at               9       Q. Well, you were part of the
10 the top is the anonymous number assigned to           10 committee that reviewed religious exemption
11 this person for all documents produced related        11 requests in 2021, correct?
12 to this person.                                       12      A. Yes.
13           MR. DIEHL: Okay.                            13          THE REPORTER: I'm sorry. I
14           MS. McGRAW: And then the change             14 didn't hear the answer.
15 by ID normally Vax Trax assigns a numeric code        15          THE WITNESS: Yes.
16 to each individual user, but to keep this             16      Q. And so you received requests
17 anonymous, we removed the generic code and            17 with information similar to what was -- what
18 used the word requester when it was the               18 is provided in the religious belief comment
19 employee seeking the exemption that needed to         19 and religious conflict comment on the first
20 be indicated there.                                   20 and second pages of Exhibit 17, correct?
21           MR. DIEHL: And so 43 in                     21      A. Yes.
22 requester refer to the same person, correct,          22      Q. And at that time, you knew the
                                                    70                                                      72
1 counsel?                                               1 process that you used for reviewing requests,
2             MS. McGRAW: Yes.                           2 correct?
3 BY MR. DIEHL:                                          3        A. Yes.
4        Q. Okay. Does that make sense to                4        Q. And do you recall that process,
5 you?                                                   5 how you would have gone about reviewing
6        A. Yes.                                         6 requests like this in 2021?
7        Q.    Thank you. So if we look at the           7             MS. McGRAW: Object to the form.
8 first table that begins with the row that's            8 Asked and answered.
9 labeled S-T-R-U-C-T in the middle of the first         9        Q. You can answer.
10 page of Exhibit 17, it looks like there was           10       A. Yes.
11 information provided by the requester and then        11       Q. Tell me how you would have
12 there's information that the requester                12 reviewed a request like this, whether or not
13 provided related to religious belief --               13 you actually reviewed this one, Exhibit 17.
14 beliefs. And if you turn to the second page,          14            MR. KIRSNER: Object to the
15 there's information provided related to               15 form.
16 religious conflict. Do you see that?                  16            THE WITNESS: I can answer?
17       A. Yes.                                         17       Q. Yes. So I should say this.
18       Q. And do you recall whether you                18 Lawyers make objections. Sometimes they're
19 reviewed this information previously?                 19 important. Sometimes they're not, but if the
20       A. This request?                                20 -- if the lawyer doesn't instruct you not to
21       Q. Yes.                                         21 answer, then you -- then you can answer the
22       A. No, I don't.                                 22 question if you understand the question.
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                                   Transcript of                                              19 (73 to 76)

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                                                  73                                                       75
1            MR. KIRSNER: I agree if you               1       Q. So what -- what would you have
2 understand the question. If you do not,              2 reviewed to determine whether it was complete?
3 please ask the gentleman to rephrase it.             3            MS. McGRAW: Same objection.
4            MR. DIEHL: You can coach at               4            THE WITNESS: For sincerity of
5 another time, counsel.                               5 their religious held beliefs.
6            MR. KIRSNER: Thank you.                   6 BY MR. DIEHL:
7            MR. DIEHL: So I'll -- I'll                7       Q. What -- what do you mean by
8 start over. And we'll -- can we just assume          8 sincerity?
9 the same objections and get a cough drop?            9       A. There --
10 Just I'm joking about the cough drop.               10      Q. Well, actually, let -- let me --
11           MS. McGRAW: We're not going to            11 let me rephrase that.
12 assume the same objections because every time       12      When you reviewed for sincerity in
13 you ask, you change the question.                   13 2021, what would you review for?
14 BY MR. DIEHL:                                       14           MS. McGRAW: Object to the form.
15      Q. All right. We'll -- we'll --                15 Calls for speculation. Incomplete
16 we'll just power on. So when you received a         16 hypothetical.
17 request for a religious exemption in 2021 as        17      Q. You can answer.
18 part of your work for the committee, how would      18      A. For them to list -- for the team
19 you review that request?                            19 member to list the reasons why they needed the
20           MS. McGRAW: Object to the form.           20 exemption.
21           THE WITNESS: For completeness.            21      Q. What --
22 There were two questions that the employee had      22      A. They're --
                                                  74                                                       76
1 to answer. So I would review the form for            1        Q. -- be included, what should be
2 completeness.                                        2 included in that for it to be complete?
3 BY MR. DIEHL:                                        3            MS. McGRAW: Object to the form.
4       Q. And what -- I guess, what did it            4 Incomplete hypothetical. Calls for
5 mean to be complete?                                 5 speculation.
6       A. To answer the two questions as              6            THE WITNESS: I don't remember
7 to why they needed a -- I don't remember the         7 the two questions that was asked.
8 two questions, but why were they requesting a        8 BY MR. DIEHL:
9 religious exemption.                                 9        Q. When you're looking at
10      Q. What -- what did it mean to be              10 Exhibit 1 -- before you do, let me ask you
11 complete? Was there -- was there a criteria         11 this.
12 that needed to be included for it to be             12       Did you -- when you attended the
13 complete?                                           13 training where Exhibit 1 was discussed in July
14           MS. McGRAW: Object to the form.           14 of 2021, correct?
15 Calls for speculation. Incomplete                   15       A. Yes.
16 hypothetical.                                       16       Q. And after that training, while
17      Q. But you -- you just talked about            17 you were reviewing requests for religious
18 the form being complete, correct?                   18 exemptions as part of your work for the
19      A. Yes.                                        19 committee, did you go back to that PowerPoint
20      Q. And that was a real thing that              20 and review the information from it when you
21 you reviewed in 2021, correct?                      21 were reviewing requests?
22      A. Yes.                                        22       A. Yes. I used it as a guide.
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                                    Transcript of                                                   20 (77 to 80)

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                                                      77                                                      79
1        Q. And did you use any other                      1 respect to fetal cells being used for testing
2 documents as a guide when you were reviewing             2 of COVID vaccines?
3 requests other than the PowerPoint                       3       A. I don't remember.
4 presentation, Exhibit 1?                                 4       Q. Did you -- do you believe you
5        A. So if I was unsure about what                  5 had an understanding of whether that testing
6  something    meant within the description or the        6 was a true -- let me -- let me step back.
7 answer of the team member, then I would                  7       Do you -- do you believe you had an
8 discuss it with the committee members.                   8 understanding in 2021 regarding whether fetal
9        Q. And other than discussing                      9 cells were used to test any of the COVID
10 something you were unsure about with the other          10 vaccines?
11 exemption committee members, would you review           11      A. I don't remember.
12 any -- any documents or other guidance of some          12      Q. Did you have anyone that you
13 kind?                                                   13 could go to with questions about issues like
14       A. I don't remember.                              14 whether fetal cells were used in testing any
15       Q. Was there a document with                      15 of the COVID vaccines in 2021?
16 information  about abortion and objections              16      A. Yes.
17 related to abortion?                                    17      Q. Who's that?
18       A. Team members would reference                   18      A. Melissa Riley.
19 that information within their request, but,             19           MS. McGRAW: And I'm going to
20 no, I did not have a brochure or anything like          20 ask the witness not to reveal any
21 that to refer to.                                       21 communications with Melissa Riley, who's
22       Q. What -- what would -- do you                   22 university counsel and assistant AG.
                                                      78                                                      80
1 recall what team members would reference                 1 BY MR. DIEHL:
2 related to abortion in religious exemption               2       Q. Melissa Riley is a lawyer. Not
3 requests in 2021?                                        3 a doctor, correct?
4       A. That -- yes, that the vaccine                   4       A. Correct.
5 was that fetal cells were incorporated within            5       Q. And do you know if Melissa Riley
6 the vaccine or they are used for scientific              6 has any scientific training of any kind?
7 testing.                                                 7       A. I do not.
8       Q. What do you mean by they use for                8       Q. Did you, either alone or as part
9 scientific testing?                                      9 of the committee, consult with anyone that had
10      A. Team members would indicate that                10 knowledge about fetal cells and the COVID
11 fetal cells were used in the testing for the            11 vaccine as part of your work for the
12 COVID-19 vaccine.                                       12 committee?
13      Q. Do you have any understanding of                13      A. I did not.
14 whether that -- that is true? Whether fetal             14      Q. If you could look at Exhibit 17
15 cells were used in the testing of any COVID             15 and starting on the first page, if you could
16 vaccines?                                               16 read the religious belief comment there.
17      A. Yes.                                            17      A. Starting from,
18      Q. And -- and it is true?                          18
19           MS. McGRAW: Object to the form.               19      Q. Yes.
20      Q. Well, yeah. So I asked you that                 20      A. Okay.
21 you have any understanding and -- and you said          21
22 yes. So what is your understanding with                 22 --
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                                     Transcript of                                             21 (81 to 84)

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                                                   81                                                       83
1       Q. I'm sorry. I meant for you to                1      A. Okay.
2 read to yourself.                                     2      Q. -- on the second page.
3       A. Oh, okay.                                    3      A. Okay.
4       Q. And actually, let me ask you a               4      Q. And -- well, let me ask you
5 question before -- before you do. Where it            5 this. With respect to the two questions that
6 says find attached, did Vax Trax allow                6 were asked of -- of employees related to their
7 employees to attach other statements or did           7 religious exemption requests, did you review
8 they have to copy the information into the --         8 those two questions independently or did you
9 the Vax Trax system, to your knowledge?               9 review all of the information together as you
10      A. I don't remember.                            10 were evaluating the request in 2021?
11      Q.    Do you remember reviewing any             11           MS. McGRAW: Object to the form.
12 documents outside of the Vax Trax system when        12           THE WITNESS: Independently.
13 you were reviewing employee's requests?              13 BY MR. DIEHL:
14      A. I don't remember.                            14     Q. Okay. So is the religious
15      Q. You don't believe that you did               15 belief information shown in the religious
16 or you  don't remember at all?                       16 belief comment cell on the first and second
17      A. I don't remember at all.                     17 page of Exhibit 17, is that complete to -- to
18      Q. So if you --                                 18 your understanding?
19      A. I just don't remember if you                 19           MS. McGRAW: Object to the form.
20 could attach additional information or not. I        20           THE WITNESS: What was the
21 don't remember.                                      21 question? What was the first question?
22      Q. But do you remember reviewing                22     Q. The first question that was
                                                   82                                                       84
1 any additional information other than                 1 asked of employees?
2 information that was in the Vax Trax system?          2       A. Yes.
3       A. Yes.                                         3       Q. I will -- I will -- I'll get --
4            MS. McGRAW: Object to the form.            4 I'll find an exhibit on a break. So maybe --
5            THE WITNESS: If they                       5 maybe we'll come back to that, this -- this
6 resubmitted a second request, there may have          6 exhibit after the break.
7 been different information in the second              7       Let me ask you this. With respect to
8 request. I don't remember any attachments.            8 Exhibit 1, while you were reviewing religious
9 BY MR. DIEHL:                                         9 exemption requests, did you ever depart from
10      Q. Okay. So if you could read on                10 the process and guidance that was shown on the
11 Exhibit 17, starting with, my face started.          11 Exhibit 1 in the PowerPoint?
12      A. To myself?                                   12           MS. McGRAW: Object to the form.
13      Q. Yeah, just read to yourself.                 13      Q. Well, do you know what the word
14      A. Okay.                                        14 depart from means?
15      Q. And -- and then just on the                  15      A. Not used.
16 second page, continue through the end of that        16      Q. Yeah. Did you ever ignore or
17 one cell. That one -- one part of the chart          17 use different criteria than what was -- is
18 there that ends with, I am required to do so.        18 listed on the PowerPoint in Exhibit 1?
19      A. And stop where?                              19           MS. McGRAW: Object to the form.
20      Q. The -- the end of the religious              20           THE WITNESS: I did not.
21 belief comment, which I understand stops at,         21 BY MR. DIEHL:
22 I'm required to do so --                             22      Q. When employees received
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                                     Transcript of                                               22 (85 to 88)

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                                                    85                                                      87
1 information that their request was denied,             1 Trax, the system -- the -- the system would
2 did -- to your knowledge, was -- were they             2 only allow the reviewer to put approve, deny,
3 told why their request was denied?                     3 and I believe those were the only two options.
4             MS. McGRAW: Object to the form.            4 BY MR. DIEHL:
5             THE WITNESS: I don't remember.             5       Q. And I don't want you to tell me
6        Q. Do you recall ever writing down              6 its contents, but is there a -- well, as you
7 why you were denying any particular request as         7 sit here today, do you recall the specific
8 you reviewed exempt requests in 2021?                  8 information of why you review -- let me start
9        A. I do not.                                    9 that question as a collective question.
10       Q. So you didn't ever type your                 10      Do you recall today why you denied or
11 answer   somewhere or excuse me. I'm going to         11 approved  individual requests in 2021?
12 start that over.                                      12      A. Repeat the question.
13       So when you made decisions related to           13      Q. Yeah. You -- you denied and --
14 religious exemption requests, did you type            14 and approved some requests in 2021 as part of
15 into a system or write down anywhere why you          15 your work for the religious exemption
16 were denying a request?                               16 committee, correct?
17       A. I don't know.                                17      A. Correct.
18       Q. Did you take notice regarding                18      Q. And do you recall why you denied
19 your review of religious exemption requests in        19 or approved different requests?
20 2021?                                                 20      A. Yes.
21       A. So notes only would have been                21      Q.    Why -- why was that?
22 incorporated into the spreadsheet that was            22      A. Why was what?
                                                    86                                                      88
1 being used --                                          1       Q. I guess what were the reasons
2            MS. McGRAW: Okay. I'm going to              2 you denied or approved requests?
3 ask the witness not to disclose any                    3       A. Because I was a part of the
4 communications or information regarding the            4 committee.
5 spreadsheet that was kept at the direction of          5       Q. But what was the basis for
6 counsel and for counsel's use, which is on our         6 denying or the basis for approving different
7 privilege log.                                         7 requests?
8       Q. So I guess I'm not asking about               8           MS. McGRAW: Object to the form.
9 any communications with counsel, but just --           9           THE WITNESS: If the information
10 I'm asking about the existence of a fact,             10 was incomplete and not -- yeah. If the
11 whether there is notes somewhere discussing           11 information was incomplete, then the request
12 facts related to your review of religious             12 would have been denied. Meaning, if they
13 exemptions in 2021?                                   13 answered the first question, but not the
14           MS. McGRAW: Same objection with             14 second question, then it would have been
15 respect to the spreadsheet that the witness           15 denied or vice versa.
16 referenced, which is on our privilege log. I          16 BY MR. DIEHL:
17 don't want you to tell him anything about the         17      Q. Other than that completeness
18 spreadsheet that was kept at Melissa Riley's          18 issue you just discussed, what other reasons
19 direction, but if there's something else              19 were there for denying requests?
20 available, if there's something else you can          20          MS. McGRAW: Object to the form.
21 talk about that.                                      21 Calls for speculation. Incomplete
22           THE WITNESS: Okay. In Vax                   22 hypothetical.
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                                    Transcript of                                                 23 (89 to 92)

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                                                    89                                                         91
1           THE WITNESS: Repeat the                      1 witness.
2 question, please.                                      2            MS. McGRAW: You're asking            a
3 BY MR. DIEHL:                                          3 hypothetical. You're not asking         about any
4       Q. You just discussed information                4 specific request.
5 regarding incompleteness, and that would be            5            MR. DIEHL: I --        -- I'm
6 the reason for denying some requests, correct?         6  asking  about all of that work.  That is not
7       A. Yes.                                          7 hypothetical.
8       Q. So other than incompleteness,                 8 BY MR. DIEHL:
9 were there other reasons that you denied               9       Q. So in 2021, you reviewed
10 requests in 2021?                                     10 multiple requests?
11          MS. McGRAW: Same objection.                  11      A. Yes, I did.
12          THE WITNESS: If it didn't -- if              12      Q. And I believe you testified
13 the request did not demonstrate that it was a         13 earlier that you recall reasons why you denied
14 sincerely held belief.                                14 requests, correct?
15      Q. And how would you decide whether              15      A. Yes, I did.
16 a request was sincerely held or -- let me ask         16      Q. Okay. So what were those
17 that again.                                           17 reasons other than incompleteness?
18      How would you decide whether a request           18           MS. McGRAW: Objection. Asked
19 demonstrated a sincerely held belief or it was        19 and answered.
20 not sincerely?                                        20      Q. She's going to keep doing that,
21          MS. McGRAW: Object to the form.              21 I think, and we might need to get the judge on
22 Calls for speculation. Incomplete                     22 the phone, but I just -- I apologize, but we
                                                    90                                                         92
1 hypothetical.                                          1 -- we need to try to power through that until
2 BY MR. DIEHL:                                          2 we -- counsel stops interrupting. So the --
3       Q. Well, let's just ask this                     3 I'll -- I'll ask the question again.
4 question. You actually did this in 2021,               4        What were reasons that you decided to
5 correct?                                               5 deny requests for religious exemption in 2021
6       A. Yes, I did.                                   6 other than incompleteness?
7       Q. So this isn't a hypothetical, is              7               MS. McGRAW: Same objection.
8 it?                                                    8               THE WITNESS: So I can answer?
9            MR. KIRSNER: Object to the                  9               MS. McGRAW: Yes, you can.
10 form.                                                 10              THE WITNESS: If the information
11           MS. McGRAW: Argumentative.                  11 was inconsistent with their -- with what they
12           MR. DIEHL: Well, I'm with you,              12 had written on -- on the form.
13 counsel. You're -- you're objecting to the            13 BY MR. DIEHL:
14 actual --                                             14       Q. Do you recall any example of how
15           MS. McGRAW: The witness --                  15 that would be an issue in a -- in a -- in a
16           MR. DIEHL: You're objecting --              16 religious exemption request that you reviewed?
17 I'm -- well, I'm trying to lay a foundation           17       A. I don't remember.
18 for your ridiculous objections that are just          18       Q. What -- what do you mean by
19 interrupting the -- the flow today --                 19 inconsistent with what they had written?
20           MS. McGRAW: My objection is not             20       A. If the employee -- if the
21 ridiculous.                                           21 employee indicated that they couldn't take the
22           MR. DIEHL: -- and confusing the             22 vaccine for religious reasons, but also
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1 indicated that they take Aspirin every day,           1 understand the question.
2 then that would be inconsistent.                      2 BY MR. DIEHL:
3       Q. Did -- did the form, to your                 3        Q. Other than we talked about
4 knowledge, that employees filled out or               4 incompleteness and you talked about the issue
5 questions that they answered ask about                5 of other medications, what other issues were
6 Aspirin?                                              6 relevant to decide whether to approve or deny
7       A. No, it did not.                              7 a request?
8       Q. Why would an employee have                   8            MS. McGRAW: Objection. Asked
9 reference -- do you -- do you recall any              9 and answered. Mischaracterizes prior
10 employee referencing Aspirin in their -- in          10 testimony. You can answer.
11 the information that they provided in support        11           THE WITNESS: Just sincerely
12 of their request?                                    12 held beliefs.
13      A. I vaguely remember and -- and                13       Q. What does -- what does sincerely
14 not just Aspirin. Any other medications or --        14 held mean in the context of your review of
15 yes. I'm -- I'm not a doctor, but any other          15 religious exemptions in 2021?
16 medications or other medications or pain             16       A. Honesty. Faithfulness to their
17 relief.                                              17 religion. Profess religion. Exam --
18      Q. And -- and why were those -- why             18 providing examples of their sincerely held
19 was that relevant to your review?                    19 religious and how it's applied to their daily
20      A. It was inconsistent.                         20 life.
21      Q.     Did employees talk about other           21       Q. Anything else?
22 medications that they took in their exemption        22       A. Not that I can remember.
                                                   94                                                        96
1 requests?                                             1        Q. Not that you can what? I'm
2        A. Some employees did.                         2  sorry.
3        Q. And those employees that did                3        A. Remember.
4 talk about it, did they say, I don't take any         4        Q. And so other than the issue of
5 medications?                                          5 whether beliefs were sincerely held, were
6        A. An employee may say, I don't                6 there any other issues that you haven't
7 take any medications. I've never taken any            7 discussed already that were relevant to your
8 medications. I do take medication for this or         8 review of religious exemption requests?
9 for that.                                             9        A. No.
10       Q. And the fact and it was relevant            10       Q. Do you know if your review of
11 that those -- well, I guess let me ask you a         11 exemption requests was similar to the review
12 separate question.                                   12 that was performed by other members of the
13       The information about whether they take        13 religious exemption committee in 2021?
14 other medications, how is that relevant to           14       A. Can you repeat the question,
15 your review?                                         15 please?
16       A. I don't remember.                           16       Q. Sure. Do you know if your
17       Q.    Was that only relevant to the            17 review  of religious exemption requests in 2021
18 issue of abortion, or was that relevant to           18 was similar to the review that was performed
19 other issues?                                        19 by other members of the committee?
20           MS. McGRAW: Objection. Asked               20       A. Yes.
21 and answered.                                        21       Q. Did the committee as a group
22           THE WITNESS: I don't -- I don't            22 talk about  the criteria that you used for
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1 reviewing exemption requests?                          1 because of their faith?
2        A. Yes. We talked about the                     2       A. I am aware. Yes.
3 criteria that was provided within the training         3       Q. And is that a common belief held
4 that we received.                                      4 by Seventh-day Adventist?
5        Q. And you're referring to                      5            MS. McGRAW: Object to the form.
6 Exhibit 1, the PowerPoint?                             6            THE WITNESS: I don't know.
7        A. Yes.                                         7 BY MR. DIEHL:
8        Q. Was there any other training                 8       Q. You don't know how many -- let
9 besides the PowerPoint that you and the                9 me ask you this. Separate question.
10 committee considered as part of your review of        10      Do you know Seventh-day Adventist that
11 religious exemption requests?                         11 don't take medication?
12       A. No.                                          12      A. Yes, I do.
13       Q. And to your knowledge, did other             13      Q. And those that you know, do they
14 members of the committee use the same criteria        14 do so because of their faith?
15 that -- that was set forth in the PowerPoint          15           MS. McGRAW: Object to the form.
16 Exhibit 1? Yes? Sorry. I just trailed off             16 Calls for speculation.
17 there.                                                17           THE WITNESS: Yes.
18       To your knowledge, did other members of         18      Q. Do you know why Seventh-day
19 the committee also use the criteria that was          19 Adventist isn't listed on slide 13 of
20 provided in the PowerPoint Exhibit 1 for their        20 Exhibit 1?
21 review of exemption requests in 2021?                 21      A. I do not know.
22       A. Yes.                                         22      Q. When the committee -- how often
                                                    98                                                      100
1       Q. If you could turn to page 13 of               1 did the committee meet in 2021?
2  Exhibit 1. Do you see at the bottom there is          2       A. I don't remember.
3 a -- some bullet points that list certain              3       Q. Was it -- was it to my
4 faiths or denominations. Do you see those?             4 understanding that there was an announcement
5       A. I'm reading now. Yes.                         5 in August regarding the COVID vaccination
6       Q. And do you know where that list               6 requirement in August of 2021. Is that
7  came  from?                                           7 consistent with -- with your memory?
8       A. I do not.                                     8       A. I don't remember.
9       Q. Do -- do you have any idea how                9       Q. Well, if we -- if we assume it
10 University of Virginia came up with these             10 was August and then as my understanding that
11 specific denominations or faiths to list              11 the -- the deadline for vaccination was in
12 there?                                                12 November of 2021. Do you -- do you recall
13      A. I do not.                                     13 that?
14      Q. How long have you been a                      14      A. I don't remember.
15 Seventh-day Adventist?                                15      Q. Well, if you just assume that
16      A. Twenty-seven years.                           16 for the sake of these questions, during that
17      Q.    Do you eat -- do you eat meat?             17 period when the vaccine requirement when --
18      A. I do not.                                     18 when the -- during this period when -- after
19      Q. Do you take medications?                      19 the vaccination requirement had been
20      A. I do.                                         20 announced, but before the deadline when
21      Q. Do you understand that some                   21 individuals had to be vaccinated, that's when
22 Seventh-day  Adventist don't take medications         22 most of the requests were reviewed by the
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